Case 2:19-ap-01240-BB   Doc 4
                            2 Filed 08/01/19
                                    07/31/19 Entered 08/01/19
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                                                               17:51:33   Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
780 Roosevelt, Suite 206, Irvine, CA 92620

                                                                      NOTICE OF STATUS CONFERENCE
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 IN REMOVAL ACTION
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
08/01/2019          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Candice Bryner on behalf of Plaintiff Mark Guirguis: candice@brynerlaw.com
  United States Trustee (LA): ustpregion16.la.ecf@usdoj.gov



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              08/01/2019        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Hon. Sheri Bluebond
 U.S. Bankruptcy Court
 255 E. Temple St., Suite 1534
   Los Angeles, CA 90012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

08/01/2019         M. Candice Bryner                                                           /s/mcbryner
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                    MAIL SERVICE LIST


Rachel Louise Carlsen
20542 Como Lane
Porter Ranch, CA 91326

Mark Koorenny
Koorenny Law Group
2123 Lindero Cyn. Rd., Ste. 204A
Westlake Village, CA 91361
